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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

BYRON BREEZE, JR., an individual,                  *
                                                   *
                 Plaintiff,                        *
                                                   *
                   v.                              * Civil Action No. 1:22-cv-1295-DLF
                                                   *
NAJAFE LLC                                         *
d/b/a City Sliders                                 *
                                                   *
and                                                *
                                                   *
                                                   *
YK 1529 WISCONSIN AVE NW                           *
LIMITED PARTNERSHIP,                               *
                                                   *
                 Defendants.                       *

                              NOTICE OF VOLUNTARY DISMISSAL

          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff BYRON BREEZE,

JR., by and through undersigned counsel, hereby files this Notice of Voluntary Dismissal as to

defendants NAJAFE LLC d/b/a City Sliders and YK 1529 WISCONSIN AVE NW LIMITED

PARTNERSHIP.

          Dated this 20th day of July, 2022.

                                                   Respectfully Submitted,
                                                   BASHIAN & PAPANTONIOU, P.C.
                                                   Attorneys for Plaintiff
                                                   500 Old Country Road, Ste. 302
                                                   Garden City, NY 11530
                                                   Tel: (516) 279-1554
                                                   Fax: (516) 213-0339

                                                   By: /s/ Erik M. Bashian
                                                   ERIK M. BASHIAN, ESQ.
                                                   D.C. Bar No. 1657407
                                                   eb@bashpaplaw.com




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing instrument was e-filed with the
     Clerk of Court using CM/ECF this 20th day of July, 2022.


                                                   By:    /s/ Erik M. Bashian, Esq.
                                                           ERIK M. BASHIAN, ESQ.
                                                          eb@bashpaplaw.com
                                                          D.C. Bar No. 1657407




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